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PROCEDURAL BACKGROUND

      The Plaintiff, Robert Benbow, an “African American”, brings a two-count

complaint alleging race/national origin discrimination and age discrimination in

violation of Chapter 760, Florida Statutes, 42 U.S.C. §2000e et seq., and 42 U.S.C.

§1981a. The Plaintiff alleges that he is a member of a protected class, national origin

“(American)/race, as well as age.” (See ¶ 3, Plaintiff’s Complaint). Moreover, Plaintiff

alleges that Defendant has taken action and/or allowed action to be taken against

Plaintiff specifically that Defendant failed to renew Plaintiff’s year-to-year contract as

an instructor within the Civil and Construction Engineering Technology Program at

FAMU because his black “Haitian” supervisor discriminates against “African

Americans.” (See Exhibit 9). The Plaintiff further alleges he “has been the victim of

discrimination on the basis of Plaintiff’s age in that Plaintiff was treated differently

than similarly situated younger applicants and/or employees of the Defendant and has

been subject to hostility and poor treatment on the basis, at least in part, of Plaintiff’s

age. (See ¶ 21, 22, Plaintiff’s Complaint). There is no allegation which laws were

violated.

STANDARD OF PROOF

       The basic issue before the court on a motion for summary judgment is

“whether the evidence presents a sufficient disagreement to require submission to a

jury or whether it is so one-sided that one party must prevail as a matter of law.”
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Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251, 106 S. Ct. 2505, 2512 (1986).

The moving party has the burden of showing the absence of a genuine issue as to

any material fact, and in deciding whether the movant has met this burden, the court

must view the movant’s evidence and all factual inferences arising from it in the

light most favorable to the nonmoving party. Adickes v. S.H. Kress & Co., 398 U.S.

144 (1970); Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993).

Thus, if reasonable minds could differ on the inferences arising from undisputed

facts, then a court should deny summary judgment. Miranda v. B & B Cash

Grocery Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992) (citing Mercantile Bank

& Trust v. Fidelity & Deposit Co., 750 F.2d 838, 841 (11th Cir. 1985)). However, a

mere ‘scintilla’ of evidence supporting the nonmoving party's position will not

suffice; there must be enough of a showing that the jury could reasonably find for

that party. Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson,

477 U.S. at 251).



FACTUAL BACKGROUND

      Plaintiff was hired by FAMU on or about January 1984 within academic affairs

(faculty/instruction). (See Plaintiff’s Complaint ¶ 6). He was an “instructor” in the

Civil and Construction Engineering Technology Programs. (See Plantiff’s Complaint ¶

6). (CESTA).        In 2004-2005, FAMU underwent an accreditation review that


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determined Benbow, along with other faculty members, was not qualified to offer

educational services because he did not possess a master’s degree or higher. (See

Exhibits 16, 7). Thus, he was not qualified to teach in higher education but was given

an assistant duties to assist faculty of record for each class in conducting experiments.

FAMU permitted Benbow to retain faculty status and privileges despite him not having

the proper qualifications. (See Exhibit 15).

      Benbow was on a yearly contract and did not have tenure status. On October 20,

2010, he was given a notice of non-reappointment and offered his “terminal” contract

with FAMU. The notice provides twelve (12) months notification that an employee’s

contract will not be renewed from the date of the notice. (See Exhibits 15, 13).

Undisputedly, this notice of non-reappointment was issued more than a year prior to

the instant charge being filed.



LEGAL ANALYSIS-TIMELINESS

      Based upon the facts of this case, all claims are barred by the 300-day window

of time for filing a charge, respectively. “Title VII requires aggrieved persons to file a

complaint with the EEOC “within one hundred and eighty days after the alleged

unlawful employment practice occurred.” Delaware State College v. Rick, 449 U.S.

250, 256, 101 S.Ct. 498, 503, 66 L.Ed.2d 431 (1980), quoting 42 U.S.C. 2000e-5e. In

a deferral state like Florida, which has a state agency (i.e. FCHR) in place with the


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authority to grant or seek relief from the alleged discriminatory practice, the period for

filing a charge of employment discrimination with the EEOC is within 300 days after

learning of an allegedly unlawful employment practice or incident. 42 U.S.C. 2000e-

5e; see Maynard v. Pneumatic Products Corp., 265 F.3d 1259, 1262 (11th Cir. 2001).

The extended period, however, is available only if the aggrieved person “has initially

instituted proceedings with a State or local agency with authority to grant or seek relief

from such practices…” 42 U.S.C. 2000e-5e. The FCRA requires that an aggrieved

person file a charge with FCHR within 365 days of the alleged violation pursuant to

Section 760.11, Florida Statutes. See Matthews v. City of Gulfport, et al., 72

F.Supp.2d 1328, 1334 (M.D. Fla 1999).

      The instant complaint is untimely because the charge was not filed until April, 6,

2012 (See Exhibits 1 & 9). The notice of non-reappointment issued on October 20,

2010 (See Exhibits 1 & 8). This case is analogous to the seminal case on timeliness

decided by the Supreme Court in Delaware State College v. ricks, 449 U.S. 250, 256,

101 S.Ct. 498, 503, 66 L.Ed. 2d 431 (1980). In that case, the Court unequivocally held

that notice of termination of the employment contract constituted the accrual date for

an employee’s cause of action. Id. (“like many college and universities, Delaware

State has a policy of not immediately discharging a junior faculty member who does

not receive tenure. Rather, such a person is offered a “terminal contract” to teach one

additional year. When that contract expires, the employment relationship ends”). Like


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here, Benbow was givFen his terminal contract with a year’s notice prior to the date of

the contract’s expiration. Therefore, Plaintiff Benbow had one year from the date he

was notified of non-reappointment to file his charge but failed to do so. FAMU, like

Delaware State, provides the same early notice requirement unique to higher education

whether the faculty member is tenure earning or not. The collective bargaining

agreement between FAMU and the faculty union requires this notice to instructors like

those employees referenced in the Delaware State case.

      Based on the above cited reasons and legal authorities, the Plaintiff’s complaint

is time-barred and without merit. He waited more than a year after he know of

termination to file the charge with EEOC.

      RACE/NATIONAL ORIGIN

      Plaintiff alleges his Haitian supervisor discriminated against Plaintiff because he

is an African-American. Plaintiff’s supervisor is black. When asked, how his Haitian

supervisor discriminated against Plaintiff, Plaintiff replied only, “He is Haitian.”

Plaintiff offered no other explanation or any incident or words disparaging African-

Americans. (See Exhibit 2). Moreover, everyone involved in the decision to not renew

Plaintiff’s year to year contract was African-American save Dr. Anglade, who was

Haitian. (See Exhibits 16, 7, 8, 14, 13, 15).

      AGE DISCRIMINATION- DISPARATE TREATMENT

      In Hazen Paper co. v. Biggins, 507 U.S. 604 (1993), the Supreme Court required


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ADEA plaintiffs to prove that an employer took adverse action “because of” age and

that age was the “reason” the employer acted. The court held that Congress did not

intend to amend the ADEA when it permitted disparate impact claims to Title VII

coverage. The Hazen Court held that proof of intentional discrimination (disparate

treatment) is required for disparate treatment age-related discrimination claims. (See

Exhibit 3).

      Under this theory, a successful plaintiff must prove that age “actually played a

role in the employer’s decision-making process and had a determinative influence on

the outcome” (Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133, 141 (2000)).

To succeed on an ADEA claim, it must be established that the plaintiff would not have

been terminated “but for” the employer’s intentional age-based discrimination

(Chiaramonte v. Fashion Bed Group, INC., 129 F.3d 391, 396 (7th Cir. 1997)).

      Based on the above cited reasons and legal authorities, the Plaintiff’s complaint

is time-barred and without merit. He waited more than a year after he knew of

termination to file the charge with EEOC. Additionally, Plaintiff cannot identify any

younger persons that have replaced Plaintiff’s position. Moreover, Plaintiff’s contract

was not renewed by Dr. Cynthia Hughes Harris, Ph.D, an African-American female

who is Provost and Vice President of Academic Affairs. (See Exhibit 8).

      WHEREFORE, the Florida Agricultural and Mechanical University Board of

Trustees respectfully requests the Court enter an order Granting Defendant’s Motion


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for Summary Judgment and awarding to Defendant its reasonable attorneys’ fees and

costs; and, grant such other relief as may be necessary and appropriate.




                                              Respectfully submitted,



                                              /s/William Woodyard II
                                              William Woodyard II, Esq.
                                              Willam Woodyard, P.A.
                                              Fla. Bar No. 852848
                                              P.O. Box 10907
                                              Tallahassee, FL 32302-2907
                                              Attorney for Defendant,
                                              Florida Agricultural and Mechanical
                                              University




                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on November 21, 2013, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a

notice of electronic filing to the following: Marie A. Mattox, Esq., and Lauren

Strickland, Esq. at MARIE A. MATTOX, P.A., 310 East Bradford Road,

Tallahassee, FL 32303.

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                              /s/ William Woodyard
                              William Woodyard




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